       Case 4:14-cr-00151-JLH          Document 214         Filed 01/11/16      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  No. 4:14CR00151-01 JLH

STEVEN DWAYNE OTEY, SR.                                                              DEFENDANT

                                             ORDER

       On the 8th day of January, 2016, Steven Dwayne Otey, Sr., appeared before the Court with

counsel, Christophe A. Tarver, and entered guilty pleas to Counts 1ss-5ss of the Second Superseding

Indictment in this matter1. The Court directs the United States Probation Office to expedite

preparation of the presentence report due to Mr. Otey’s medical conditions. Mr. Otey will be

asked to provide information to the presentence writer to be included in the report, and he may have

his attorney present for the interview if he wishes. Upon completion of the first draft of the

presentence report, both sides will have the opportunity to review the report and file objections.

Upon completion of the final report, the Court will be notified and a sentencing hearing will be set.

       IT IS SO ORDERED this 11th day of January, 2016.


                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE




       1
        Preparation of the presentence report was not ordered at the conclusion of the January 8,
2016 plea hearing as the defendant was awaiting trial on additional counts contained in the second
superseding indictment. Counts 6ss-7ss were subsequently dismissed upon motion of the
government later in the afternoon of January 8, 2016.
